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                  UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF NEW YORK



                         JUDGMENT IN A CIVIL CASE

RALPH BUCK PHILLIPS
         Plaintiff(s)
     vs.                               CASE NUMBER: 9:12-cv-0609 (NAM/CFH)

T. LaVALLEY; J. FACTEAU; W. ALLAN; MENARD;
T. JAMES; E. BOUISSEY; J. WALDRON; J. BERGGREN;
G. SAVAGE; P. BOUDRIEAU; MARTIN; B. TUCKER;
R. LEE; D. AMO; BEZIO; LAWFER; BEAN; C. DELUTIS;
J. DELISLE; P. HUTTI; C. TRUDEAU; T. BROUSSEAU;
SUSAN M. ROCQUE,
            Defendant(s)


Decision by Court. This action came to trial or hearing before the Court. The issues
      have been tried or heard and a decision has been rendered.

IT IS ORDERED AND ADJUDGED that plaintiff’s request for voluntary dismissal of this
action pursuant to Federal Rules of Civil Procedure 41(a) is GRANTED, this action is
dismissed without prejudice pursuant to the Decision and Order of the Honorable Judge
Norman A. Mordue, dated the 11th day of September, 2014.


DATED: September 11, 2014




                                               s/ A. Hudson
                                               A. Hudson, Deputy Clerk
